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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                            :
UNITED STATES OF AMERICA    :                          Case No.: 22-CR-66 (CJN)
                            :
     v.                     :                          18 U.S.C. § 111(a)(1)
                            :
MATTHEW JASON BEDDINGFIELD, :
                            :
     Defendant.             :
                            :

                                  STATEMENT OF OFFENSE

          Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, Matthew Jason

Beddingfield, with the concurrence of his attorney, agree and stipulate to the below factual basis

for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate

that the United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

          1.      The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

          2.      On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.

          3.      On January 6, 2021, a joint session of the United States Congress convened at the

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives and the United States Senate were meeting

in the Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election,

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which had taken place on Tuesday, November 3, 2020. The joint session began at approximately

1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and Senate adjourned to

separate chambers to resolve a particular objection. Vice President Mike Pence was present and

presiding, first in the joint session, and then in the Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

        5.      At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks as required by USCP officers or other authorized security

officials.

        6.      At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $2.7 million dollars for repairs.




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        7.      Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.


        Matthew Jason Beddingfield’s Participation in the January 6, 2021, Capitol Riot

        8.      The defendant, Matthew Jason Beddingfield, lives in Middlesex, North Carolina.

On January 5, 2021, defendant traveled from North Carolina to Washington, D.C., via automobile

with his father. The purpose of the defendant’s trip to Washington, D.C., was to protest Congress’

certification of the Electoral College.

        Prior to January 6, on November 17, 2020,1 while on conditions of pretrial release prohibiting

him from accessing any social media, Beddingfield used his Instagram account with the handle

@rightwing.dissident to engage in the following exchange:

        Beddingfield:             Fuck them bitches they knew they were coming to start shit at a
                                  trump rally. I was there




1
  This is likely a reference to the violence that broke out between Trump supporters and counter protestors on
November 14-15, 2020, following the so-called Million MAGA March.

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       IG User:                 They wernt at a trump rally but ok. It’s funny how much of a hypocrite
                                you are

       Beddingfield:            Yes they were lol that happened in dc. They were with the violent antifa
                                crowd that was beating up elderly people after 99% of Trump supporters
                                left Anyone who is in antifa deserves a slow death. They are literally
                                communists.

       9.      On January 6, Beddingfield attended the “Stop the Steal” rally and then marched

with his father and other protestors to the Capitol. At about 12:57 p.m., Beddingfield walked

through restricted Capitol grounds and up the Maryland Walkway carrying his flag. Less than a

minute later, he jumped a barricade and ran towards police officers on the West Plaza. At

approximately 1:06 p.m. to 1:07 p.m., Beddingfield and other rioters yelled at and physically

attacked police officers on the West Plaza. Beddingfield used the flagpole of the flag he was

carrying to jab at and strike a police officer. Beddingfield then swung the flagpole at another police

officer and threw a piece of the flagpole at the line of police officers.

       10.     Beddingfield made his way up to the Upper West Terrace of the Capitol and went

inside during the brief period that the Upper West Terrace door was breached. Beddingfield then

made his way to the Great Rotunda of the Capitol and joined rioters who were then attempting to

breach a police line in the hallway that leads from the Grand Rotunda to the Senate Chamber.

Beddingfield made his way to the front of that group of rioters before he was impacted by a

chemical irritant and retreated to the Rotunda. Beddingfield then entered the office of Minority

Leader Kevin McCarthy, where he left his flag and got a bottle of water, before continuing to walk

around the Capitol. Beddingfield eventually left through the North Door of the Capitol after having

spent approximately thirty minutes inside the Capitol and over two hours on restricted Capitol

grounds.




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       11.     On January 19, 2022, Beddingfield used his Instagram account with the handle

@rightwing.dissident to send the message, “I’d like to reclaim America and it is fine if a few of

my peoples enemies are ‘hurt’ in the process.”


                                      Elements of the Offense

       12.     Matthew Jason Beddingfield knowingly and voluntarily admits to all the elements

of Assaulting, Resisting, or Impeding Certain Officers in violation of 18 U.S.C. § 111(a)(1).

Specifically, Beddingfield admits that he forcibly assaulted, resisted, opposed, impeded,

intimidated, or interfered with any person designated in 18 U.S.C. § 1114 while engaged in or on

account of the performance of their official duties. Specifically, the defendant admits that he struck

a law enforcement officer with a flagpole, a person who was an officer and employee of the United

States Capitol Police. The defendant further admits that he knew at that time of the assault of,

resisting, opposition to, impeding of, intimidation of, or interference with the officer that the

officer was engaged in the performance of their official duties and that he assaulted, resisted,

opposed, impeded, intimidated, or interfered with the officer on account of their performance of

their official duties. Beddingfield agrees that the flagpole as he used it against the police officer

on January 6, 2021, is a dangerous weapon. Beddingfield further agrees that the assault was a

felonious assault that involved an intent to commit another felony, specifically 18 U.S.C. §

231(a)(3), Civil Disorder.

                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      United States Attorney


                                               By:
                                                      Sean P. Murphy
                                                      Assistant United States Attorney
                                                      D.C. Bar No. 1187821

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